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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-CR-40-8 (TNM)
               v.                            :
                                             :
STEVEN CAPPUCCIO,                            :
                                             :
                      Defendants.            :

         UNITED STATES’ RESPONSE TO DEFENSE MOTION TO COMPEL

       The United States files this response to defendant Cappuccio’s Motion to Compel

Discovery, filed March 4, 2022. ECF No. 236. The government has responded to each of the four

defense requests outlined therein, and has directed counsel to each of the requested items that are

within the government’s possession, custody and control. The government will continue to work

with defense counsel should any difficulties accessing this discovery continue.



                                             Respectfully submitted,

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                                             BY:     /s/
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